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                              United States District Court
                              Southern District of Texas

                                      §
Kimberly Madison Merrick,             §
                                      §
            Plaintiff,                § Case No. 4:17-cv-02666
                                      §
v.                                    §
                                      §
Kohl’s Department Stores, Inc.,       §
                                      §
            Defendant.                §
                                      §
                           STIPULATION TO DISMISS

TO THE CLERK:

       Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the

dismissal of the above-captioned action with prejudice and with each party to bear its

own costs and fees.

/s / William C. Petit                        /s/ Amy L. Bennecoff Ginsburg
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                                  Certificate of Service

       I hereby certify that I have served a copy of the foregoing document by Notice of
Electronic Filing on this 21st day of June, 2018:
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